                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                              WESTERN DIVISION

                                        NO. 5:07-CR-44-FL
                                       NO. 5:09-CV-299-FL


LARRY THOMAS,                                 )
                                              )
       Petitioner,                            )
                                              )               MEMORANDUM AND
       v.                                     )               RECOMMENDATION
                                              )
UNITED STATES OF AMERICA,                     )
                                              )
      Respondent.                             )
________________________________              )

       This matter comes before the court on the government’s motion for summary judgment on

the claims raised in pro se petitioner’s motion to vacate, set aside, or correct his sentence filed

pursuant 28 U.S.C. § 2255 (“Motion to Vacate”) (DE-206)1. Petitioner has responded to this motion

(DE-221) and the matter is now ripe for adjudication. For the following reasons, it is HEREBY

RECOMMENDED that the government’s motion for summary judgment (DE-206) be GRANTED

and that Petitioner's Motion to Vacate be DENIED.

                                           I. Background

       Petitioner plead guilty pursuant to a signed memorandum of plea agreement filed on January

11, 2008 to a single count of conspiracy to distribute and possess with the intent to distribute more

than 1000 kilograms of marijuana in violation of 21 U.S.C. § 846. The memorandum of plea

agreement states in pertinent part that:



       1
        Docket entry numbers correspond to case number 5:07-CR-44-FL.

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       [t]his [m]emorandum constitutes the full and complete record of the [p]lea agreement
       . . . [d]efendant agrees: [t]o plead guilty to [c]ount [o]ne of the [i]ndictment herein
       . . . [t]o waive knowingly and expressly all rights, conferred by 18 U.S.C. § 3742, to
       appeal whatever sentence is imposed, including any issues that relate to the
       establishment of the advisory [g]uideline range, reserving only the right to appeal
       from a sentence in excess of the applicable advisory [g]uideline range that is
       established at sentencing, and further to waive all rights to contest the conviction or
       sentence in any post-conviction proceeding, including one pursuant to 28 U.S.C. §
       2255, excepting an appeal or motion based upon grounds of ineffective assistance of
       counsel or prosecutorial misconduct not known to the [d]efendant at the time of the
       [d]efendant’s guilty plea . . . .

       (DE-154, pg. 1-9).

       On November 3, 2008, petitioner was sentenced to a 231 month term of imprisonment (DE-

187). Petitioner did not appeal his conviction. Petitioner’s motion to vacate, set aside, or correct

his sentence was timely filed on July 24, 2009 (DE-195).

                                           II. Discussion

       Under Rule 56 of the Federal Rules of Civil Procedure, summary judgment shall be granted:

       against a party who fails to make a showing sufficient to establish the existence of an
       element essential to that party’s case, and on which that party will bear the burden of proof
       at trial . . . since a complete failure of proof concerning an essential element of the
       nonmoving party’s case necessarily renders all other facts immaterial.
       Celotex Corporation v. Catrett, 477 U.S.317, 322-323 (1986)

       “[S]ummary judgment is appropriate when there exists no genuine issue of material fact and

the moving party is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(c); Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 247 (1986). The party seeking summary judgment bears the

burden of initially coming forward and demonstrating the absence of a genuine issue of material fact.

Celotex, 477 U.S. at 317; Ross v. Communications Satellite Corp., 759 F.2d 355, 364 (4th Cir.

1985). Specifically, the moving party bears the burden of identifying those portions of “the

pleadings, depositions, answers to interrogatories, and admissions on file, together with the


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affidavits” that the moving party believes demonstrate an absence of any genuine issues of material

fact. Celotex, 477 U.S. at 323. Once the moving party has met its burden, the non-moving party

must then affirmatively demonstrate that there is a genuine issue which requires trial. Matsushita

Electrical Industrial Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986). As a general rule,

the non-movant must respond to a motion for summary judgment with affidavits, or other verified

evidence, rather than relying on his complaint or other pleadings. Celotex, 477 U.S. at 324. See

also, Williams v. Griffin, 952 F.2d 820, 823 (4th Cir. 1991).

       In the summary judgment determination, the facts and all reasonable inferences must be

viewed in the light most favorable to the non-movant. Anderson, 477 U.S. at 255. It is well-

established that any analysis of the propriety of summary judgment must focus on both the

materiality and genuineness of the fact issues. Ross, 759 F.2d at 364. The mere existence of some

alleged factual dispute between the parties will not defeat a motion for summary judgment.

Anderson, 477 U.S. at 247-48. A fact is material only when its resolution affects the outcome of the

case. Id. at 248. A dispute about a material fact is genuine if the evidence is such that a reasonable

jury could return a verdict for the nonmoving party. Id.

       Petitioner asserts that he received ineffective assistance of counsel.

               To prove ineffective assistance of counsel, a petitioner must satisfy the
               familiar requirements of Strickland v. Washington, 466 U.S. 668, 687 (1984).
               The petitioner must initially prove that his counsel’s performance was
               objectively unreasonable. In undertaking this inquiry, [j]udicial scrutiny of
               counsel’s performance must be highly deferential . . . The petitioner must
               also demonstrate that prejudice resulted from counsel’s errors. To establish
               prejudice, he must show that there is a reasonable probability that, but for
               counsel’s unprofessional errors, the result of the proceeding would have been
               different. A reasonable probability is a probability sufficient to undermine
               confidence in the outcome. Campbell v. Polk, 447 F.3d 270, 279 (4th Cir.
               2006) (internal citations omitted) (internal quotation marks omitted).


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       Specifically, petitioner claims that his counsel failed to advise him of his right to appeal.

(DE-195, pg. 4). Petitioner’s claim is without merit. It is clear from the record that petitioner’s

counsel discussed the charges and evidence against petitioner as well as each paragraph of the plea

agreement. In particular, each term of the plea agreement including the waivers were discussed with

petitioner. Moreover, at petitioner’s plea hearing, the court informed petitioner that he was waiving

his appellate rights and inquired as to his understanding of these waivers:

               The Court:              All right. Do you understand each one of you has
                                       agreed to waive very valuable rights to appeal the
                                       sentence imposed by the Court? Do you understand .
                                       . . that these waivers are in your plea agreement?

       ...

                                       Do you understand?

               [petitioner]:           Yes, your Honor.

               (DE-204, pg. 27).

       Petitioner further testified that he was 50 years old and had completed a GED (DE-204, pg.

16). In addition, petitioner stated that about once a month he sought medical treatment from a

physician for pain and anxiety, and that he took hydrocodone for pain and xanax for anxiety (DE-

204, pg. 16-17). Petitioner admitted taking these drugs in the last 24 hours, but testified that the

medication did not make it hard for him to hear or understand what he heard (DE-204, p. 17).

Moreover, petitioner stated that he was satisfied with his attorney’s services and that he understood

the court’s explanation of the sentencing process (DE-204, pg. 19-23). Similarly, petitioner testified

that he read and understood the terms of his plea agreement and had discussed the plea agreement

with his attorney (DE-204, pg. 25-26). Finally, petitioner testified that he had truthfully answered

all of the Court’s questions (DE-204, pg. 29). In sum, petitioner knew that the appellate waivers

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were included in the plea agreement. Counsel, as well as the Court, informed petitioner of the rights

he was waiving. The undersigned finds that the record fully establishes petitioner knowingly waived

his right to appeal. Under such circumstances, petitioner is not entitled to relief. See Blackledge

v. Allison, 431 U.S. 63, 74 (1977) (the solemn declarations made by a criminal defendant at plea

proceedings carry a strong presumption of verity and constitute a formidable barrier against any

subsequent collateral proceedings). As such, the government is entitled to summary judgment on

this ground.

       In his remaining claims, petitioner alleges that the plea agreement was not a valid contract

and there were errors in the sentencing process and point calculation. Claims, such as these, that

could have been raised on appeal, but were not, are procedurally defaulted. See Bousley v. United

States, 523 U.S. 614, 621-22 (1998) (habeas review is an extraordinary remedy and will not be

allowed to do service for an appeal). Petitioner did not file a direct appeal in the underlying criminal

case and, thus, has procedurally defaulted on these claims. Nonetheless, petitioner contends that his

failure to file a direct appeal is excused because he unknowingly waived his right to appeal. That

contention, as discussed supra., is without merit. Thus, petitioner has procedurally defaulted on his

remaining claims, and has no basis for relief. Accordingly, the government is entitled to summary

judgment on these claims as well.




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                                     III. Conclusion

      For the aforementioned reasons, it is HEREBY RECOMMENDED that the government’s

motion for summary judgment (DE-206) be GRANTED and that petitioner's Motion to Vacate be

DENIED.

      SO RECOMMENDED in Chambers at Raleigh, North Carolina this 14th day of May, 2010.




                                         __________________________________
                                                 William A. Webb
                                                 U.S. Magistrate Judge




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